Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 1 of 50 PageID #: 4886




                         EXHIBIT 25
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 2 of 50 PageID #: 4887




                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

    TQ DELTA, LLC,
                             Plaintiff,
                        v.
                                                CIV. A. NO. 2:21-CV-310-JRG
    COMMSCOPE HOLDING COMPANY, INC.,                  (Lead Case)
    COMMSCOPE          INC.,         ARRIS
    INTERNATIONAL      LIMITED,      ARRIS
    GLOBAL LTD., ARRIS US HOLDINGS, INC.,
    ARRIS   SOLUTIONS,      INC.,    ARRIS
    TECHNOLOGY,     INC.,     and    ARRIS
    ENTERPRISES, LLC,
                         Defendants.



    TQ DELTA, LLC,
                             Plaintiff,
                        v.
                                      CIV. A. NO. 2:21-CV-309-JRG
    NOKIA CORP., NOKIA SOLUTIONS AND        (Member Case)
    NETWORKS OY, and NOKIA OF AMERICA
    CORP.,
                       Defendants.


    NOKIA OF AMERICA CORP.,
                       Third-Party Plaintiff,
                    v.

    BROADCOM CORP., BROADCOM INC., and
    AVAGO               TECHNOLOGIES
    INTERNATIONAL SALES PTE. LTD.,
                      Third-Party
                      Defendants.


                  DECLARATION OF RICHARD D. WESEL, PH.D.
                     REGARDING CLAIM CONSTRUCTION
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 3 of 50 PageID #: 4888




                                                  TABLE OF CONTENTS

  I.     Introduction ..........................................................................................................................1

  II.    Qualifications .......................................................................................................................2

  III.   Scope of Opinions ................................................................................................................4

  IV.    Legal Standards Relied Upon ..............................................................................................4

  V.     Background ..........................................................................................................................5

         A.         Family 3 Patents .......................................................................................................5

         B.         Certain Family 9 Patents ..........................................................................................6

  VI.    Level of Ordinary Skill in the Art ........................................................................................9

  VII.   Disputed Claim Terms .......................................................................................................10

         A.         Family 3 Patents .....................................................................................................10

                    1.         “shared memory” / “sharing the memory” / “operable to be
                               shared” / “sharing” .....................................................................................10

                    2.         “wherein the generated message indicates how the memory
                               has been allocated between the [first deinterleaving /
                               interleaving] function and the [second] deinterleaving
                               function” / “a message indicating how the shared memory
                               is to be used by the interleaver or the deinterleaver” .................................13

         B.         Certain Family 9 Patents ........................................................................................15

                    1.         “wherein the transceiver is operable to receive at least one
                               retransmitted packet using interleaving” ...................................................15

                    2.         “wherein the instructions further cause the transceiver to
                               retransmit the packet using forward error correction
                               decoding and deinterleaving.” ...................................................................15

                    3.         “receive at least one message without using interleaving” ........................16

                    4.         “higher immunity to noise” ........................................................................19




                                                                      i
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 4 of 50 PageID #: 4889




  I.     INTRODUCTION

         1.      My name is Richard D. Wesel, Ph.D., and I have been retained as a technical expert

  by counsel for Defendants Nokia of America Corporation, Nokia Corporation, Nokia Solutions

  and Networks Oy (collectively, “Nokia”) and CommScope Holding Company, Inc., CommScope

  Inc., ARRIS US Holdings, Inc., ARRIS Solutions, Inc., ARRIS Technology, Inc., and ARRIS

  Enterprises, LLC (collectively, “CommScope”) (together, “Defendants”) to address certain issues

  concerning U.S. Patent No. 7,844,882 (the “’882 Patent”), U.S. Patent No. 8,276,048 (the “’048

  Patent”), U.S. Patent No. 8,495,473 (the “’5473 Patent”), U.S. Patent No. 9,547,608 (the “’608

  Patent”), and U.S. Patent No. 10,409,510 (the “’510 Patent”) (collectively, “Family 3 Patents”), as

  well as U.S. Patent No. 8,595,577 (the “’577 Patent”), U.S. Patent No. 9,904,348 (the “’348

  Patent”), U.S. Patent No. 9,485,055 (the “’055 Patent”), U.S. Patent No. 10,044,473 (the “’4473

  Patent”), U.S. Patent No. 10,833,809 (the “’809 Patent”), and U.S. Patent No. 8,468,411 (the “’411

  Patent”) (collectively, “Family 9 Patents”), which have been asserted by TQ Delta, LLC

  (“Plaintiff” or “TQ Delta”). Unless otherwise stated, the matters contained in this declaration are

  of my own personal knowledge and, if called as a witness, I could and would testify competently

  and truthfully with regard to the matters set forth herein.

         2.      My opinions are based on my years of education, research and experience, as well

  as my investigation and study of relevant materials. A list of materials considered is included in

  Exhibit A to my declaration.

         3.      I may rely on these materials, my knowledge and experience, and/or additional

  materials, documents, and information in forming any opinions in this Action, including but not

  limited to opinions to rebut arguments raised by Plaintiff. I reserve all rights that I may have to

  supplement this declaration if further information becomes available or if I am asked to consider



                                                    1
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 5 of 50 PageID #: 4890




  additional information. Furthermore, I reserve all rights that I may have to consider and comment

  on any additional expert statements or testimony of Plaintiff’s experts in this matter.

          4.      My analysis of materials relevant to this Action is ongoing, and I may continue to

  review new material as it becomes available. This declaration represents only those opinions I have

  formed to date. I reserve the right to revise, supplement, and/or amend my opinions stated herein

  based on new information and on my continuing analysis of the materials already provided. I also

  reserve the right to create exhibits to use in Court if called upon to testify.

          5.      I am being compensated at my usual consulting rate of $600 per hour for my time

  spent working on issues in this case. My compensation does not depend upon the outcome of this

  matter or the opinions I express.


  II.     QUALIFICATIONS

          6.      I have summarized in this section my educational background, work experience,

  and other relevant qualifications. A true and accurate copy of my curriculum vitae is attached as

  Exhibit B to this declaration.

          7.      I have over 30 years of experience in communications and signal processing. I am

  a professor in the Electrical and Computer Engineering Department of UCLA as well as the

  Associate Dean for Academic and Student Affairs of the Henry Samueli School of Engineering

  and Applied Science. After receiving bachelors and master’s degrees in Electrical Engineering

  from MIT in 1989, I worked at AT&T Bell Laboratories from 1989 to 1991 as a Member of

  Technical Staff performing research and development in telecommunications. I attended Stanford

  University from 1991 to 1996, receiving my Ph.D. in Electrical Engineering in 1996. Upon

  receiving my Ph.D. I joined the faculty of the UCLA Electrical Engineering Department, where I

  have been teaching and doing research on communications and signal processing for the last 24



                                                     2
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 6 of 50 PageID #: 4891




  years.

           8.    I have extensive experience researching and teaching communications techniques

  including multi-carrier modulation, interleaving, and error control coding in general as well as

  Reed-Solomon coding in particular. My publications and patents are listed in my curriculum vitae

  . I have published over 200 conference and journal publications, and I am the inventor on nine

  patents. I have received the National Science Foundation (NSF) CAREER Award and an Okawa

  Foundation award for research in information theory and telecommunications. I am a Fellow of

  the Institute of Electrical and Electronics Engineers (IEEE). I previously served as an Associate

  Editor for Coding and Coded Modulation for the IEEE Transactions on Communications. I

  currently serve as an Associate Editor for Coding and Decoding for the IEEE Transactions on

  Information Theory.

           9.    I authored an Asilomar conference paper in 1995 entitled “Fundamentals of Coding

  for Broadcast OFDM” that discusses techniques for designing coding and modulation for

  multicarrier transmission with interleaving. My 1996 Ph.D. dissertation included the design of

  trellis codes for multicarrier transmission with interleaving. In a 1999 Communications Letter, I

  presented related results on trellis codes for multicarrier transmission with interleaving. In a 2000

  IEEE Transactions on Communications paper, I compared the performance of these new codes to

  Reed-Solomon codes used on multicarrier transmission with interleaving. I also authored several

  conference papers in the late 1990’s related to coding for multicarrier transmission with

  interleaving including “Joint Interleaver and Trellis Code Design,” “Periodic Symbol Puncturing

  of Trellis Codes,” and “Trellis Codes for Compound Periodic Gaussian Channels.”

           10.   I authored the chapter entitled “Error Control” in the book Wireless Multimedia

  Communications: Networking Video, Voice, and Data in 1997, which discussed the concepts of




                                                   3
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 7 of 50 PageID #: 4892




  Reed-Solomon codes and interleaving. This book also discusses multicarrier modulation in Section

  3.4 and Section 5.2.

         11.     I am an inventor on U.S. Patent No. 6,125,150 entitled “Transmission System using

  Code Designed for Transmission with Periodic Interleaving,” which discloses, among other things,

  error control techniques for multicarrier transmission with interleaving. I am also an inventor on

  U.S. Patent No. 6,158,041 filed in October 1998 entitled “System and method for I/Q Trellis Coded

  Modulation” which also describes, among other things, error correction coding techniques for

  multicarrier transmissions using interleaving.

         12.     A complete list of cases in which I have testified at trial, hearing, or by deposition

  within the preceding five years is attached as Exhibit C to my declaration.

         13.     Based on my education and experience, I believe I am qualified to render the

  opinions set forth here.


  III.   SCOPE OF OPINIONS

         14.     I have been asked to provide opinions regarding the meaning of certain disputed

  claim terms as understood by one of ordinary skill at the time of the claimed inventions. My

  opinions are based on my understanding of the disputed claim terms and proposed construction

  and the evidence relied upon by the parties.


  IV.    LEGAL STANDARDS RELIED UPON

         15.     Certain legal principles that relate to my opinions have been explained to me by

  counsel.

         16.     I understand that ultimately the Court will determine how specific terms shall be

  construed. The intent of this declaration is to help inform the Court how a person of ordinary skill

  in the art would have understood the meaning of certain disputed claim terms at the time of the


                                                   4
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 8 of 50 PageID #: 4893




  claimed inventions in the context of the Asserted Patents’ claims, specifications, and prosecution

  histories in a manner that will assist the Court in the process of construing the claims. I understand

  that patent claims are generally given the meaning that the terms would have to a person of

  ordinary skill in the art in question as of the earliest claimed priority date. It is my understanding

  that a patentee can act as its own lexicographer by defining a term, in the patent specification, to

  have specific meaning. It is my understanding that statements made to the patent office by the

  patentee or its legal representative during prosecution can serve to illuminate, or possibly narrow

  the proper scope of claim terms, and that such statements must be considered when construing the

  claim terms. This is sometimes referred to as disclaimer. I have taken into account these principles

  in my analysis.

         17.      I understand that a claim is indefinite if, when read in light of the specification and

  its prosecution history, the claim fails to inform, with reasonable certainty, those skilled in the art

  about the scope of the claimed invention.

         18.      I understand that a patent may include both independent and dependent claims. I

  understand that a claim in dependent form must contain reference to a claim previously set forth

  and then specify a further limitation of the subject matter claimed. A claim in dependent form must

  be construed to incorporate by reference all the limitations of the claim on which it depends.


  V.     BACKGROUND

         A.       Family 3 Patents

         19.      I have been asked to provide opinions regarding the meaning of certain claim terms

  in the ’882 Patent, ’048 Patent, ’5473 Patent, ’608 Patent, and the ’510 Patent.

         20.      Each of the Family 3 Patents is titled “Resource sharing in a telecommunications

  environment.”



                                                    5
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 9 of 50 PageID #: 4894




         21.      I understand that TQ Delta has asserted the following claims and priority dates:

   Patent                            Asserted Claims                  Asserted Priority Date
   ’882 Patent                       9, 13, 14, 15                    October 12, 2004
   ’048 Patent                       1, 5, 6, 7                       October 12, 2004
   ’5473 Patent                      10, 28, 36                       October 12, 2004
   ’608 Patent                       2, 3, 4                          October 12, 2004
   ’510 Patent                       21, 22, 23                       October 12, 2004

         22.      I have been asked to assume the applicability of the priority dates for these patents

  as detailed above and have therefore analyzed the claim constructions and knowledge of one of

  ordinary skill for the patents as of those dates.

         23.      In forming the opinions set forth in this declaration, I have reviewed the asserted

  Family 3 Patents, the relevant file histories, as well as the Provisional Application No. 60/618,269,

  the provisional application to which the Family 3 Patents claims priority.

         24.      The Family 3 Patents, which share a common specification, are generally directed

  to sharing a common memory and allocating that common memory between an interleaver and a

  deinterleaver in digital subscriber line (“DSL”) technology. See ’882 Patent at Abstract. As an

  example, the ’882 Patent admits that interleaving and Reed-Solomon coding were known in the

  prior art but that the memory requirements were burdensome. Id. at 1:49–55. Accordingly, the

  ’882 Patent explains that “an exemplary aspect of this invention relates to sharing memory between

  one or more interleavers and/or deinterleavers in a transceiver.” Id. at 1:56–58.

         25.      With respect to the background of the invention, I reserve the right to respond to

  TQ Delta’s expert’s description should a more detailed description of memory allocation between

  an interleaver and deinterleaver become available.

         B.       Certain Family 9 Patents

         26.      I have been asked to provide opinions regarding the meaning of certain claim terms

  in the ’577 Patent, ’348 Patent, and the ’809 Patent (“Certain Family 9 Patents”).


                                                      6
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 10 of 50 PageID #: 4895




         27.      Each of the ’577 and ’348 Patents is titled “Packet retransmission.” The ’809 Patent

  is titled “Techniques for packet and message communication in a multicarrier transceiver

  environment.”

         28.      As to only the Certain Family 9 Patents, I understand that TQ Delta has asserted

  the following claims and priority dates:

   Patent                            Asserted Claims                    Asserted Priority Date
   ’577 Patent                       16, 17, 18, 30, 31, 32, 37, 38,    April 12, 2006
                                     39, 44, 53, 54, 55, 60
   ’348 Patent                       1, 2, 3, 4, 9, 10, 11, 12          April 12, 2006
   ’809 Patent                       1, 2, 3, 4, 6, 8, 9, 10, 11, 12,   April 12, 2006
                                     13, 15, 16, 17, 18, 20,
                                     22, 23, 24, 25, 27

         29.      I have been asked to assume the applicability of the priority dates for these patents

  as detailed above and have therefore analyzed the claim constructions and knowledge of one of

  ordinary skill for the patents as of those dates.

         30.      The Certain Family 9 Patents share a common specification. For the purposes of

  this Background section, I use the ’348 as the representative patent of the Certain Family 9 Patents.

  I will now describe the ’348 Patent below.

         31.      Entitled “Packet Retransmission,” the ’348 Patent issued on July 28, 2015. See ’348

  Patent, Front Page. I understand that the U.S. Non-Provisional Patent application that was

  eventually granted as the ’348 Patent was U.S. Non-Provisional Patent App. No. 14/075,194,

  entitled “Packet Retransmission” and filed November 08, 2013 with an earliest priority date of

  April 12, 2006. Id. More specifically, I understand the following:

                        U.S. Non-Provisional Patent App. No. 14/075,194 was a continuation of

         U.S. Non-Provisional Patent App. No. 12/760,728, entitled “Packet Retransmission,” filed

         on April 15, 2010, and granted on November 26, 2013 as U.S. Patent No. 8,595,577. Id.




                                                      7
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 11 of 50 PageID #: 4896




         col. 1:05–18.

                        U.S. Non-Provisional Patent App. No. 12/760,728 was a divisional of U.S.

         Non-Provisional Patent App. No. 12/295,828, entitled “Packet Retransmission and

         Memory Sharing,” filed on October 02, 2008, and granted on December 18, 2012 as U.S.

         Patent No. 8,335,956. Id.

                        U.S. Non-Provisional Patent App. No. 12/295,828 was a national stage

         entry of P.C.T. International Patent App. No. PCT/US2007/066522, entitled “Packet

         Retransmission and Memory Sharing,” filed on December 04, 2007, and claiming priority

         to U.S. Provisional Patent App. Nos. 60/849,650 and 60/792,236, filed October 05, 2006

         and April 12, 2006, respectively. Id.

         32.     For purposes of this Declaration, I use April 12, 2006 as the priority date of the

  ’348 Patent. The materials I have considered predate the Certain Family 9 Patents’ priority date.

         33.     The ’348 Patent generally relates to pre-existing telecommunications technologies

  and noise mitigation techniques, including error correction coding (also referred to as forward error

  correction (FEC) coding), error detection coding, interleaving, and retransmission. The

  specification identifies the field of the invention as “retransmission of packets in a communication

  environment” and “memory sharing between transmission functions and other transceiver

  functions.” Id. at 1:24–29. It further explains that the transceiver operates using “well known

  componentry” for DSL systems. Id. at 9:59–10:5.

         34.     Retransmission is a well-known technique where the transmitter retains the

  transmitted information to await a feedback message from the receiver. If the message indicates

  unsuccessful reception (a negative acknowledgement or NACK), the transmitter will transmit the

  information again. If the message indicates successful reception (an acknowledgement or ACK),




                                                   8
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 12 of 50 PageID #: 4897




  retransmission will not be needed and the transmitted information no longer needs to be retained.

         35.     Retransmission can be used in conjunction with the techniques of error detection

  coding, error correction coding, and interleaving/deinterleaving. With well-known error detection

  coding such as a Cyclic Redundancy Check (CRC) code, an error detection encoder at the

  transmitter converts a sequence of input data symbols into a longer sequence of codeword symbols,

  for example by appending CRC bits or symbols to the input sequence. Then, an error detection

  decoder at the receiver can detect the presence of errored symbols, for example when the received

  CRC is not consistent with the input sequence to which it is appended. At the receiver, the results

  of the error detection decoder can be used, for example, to decide whether to send an ACK or a

  NACK.

         36.     With well-known error correction encoding such as Reed-Solomon encoding, an

  error correction encoder at the transmitter converts a sequence of input data symbols into a longer

  sequence of codeword symbols, for example by appending Reed-Solomon parity symbols to the

  input sequence. Then, an error correction decoder at the receiver can correct up to a certain number

  of errored symbols based on the special structure imposed by the error correction code. With the

  well-known technique of interleaving/deinterleaving, an interleaver at the transmitter rearranges

  the order of the symbols to spread out the symbols of each codeword across the sequence of

  transmitted symbols. A deinterleaver at the receiver returns the symbols to their original pre-

  interleaving order so that they can be properly understood by the error correction and/or error

  detection decoders. Interleaving/deinterleaving is beneficial in combating bursts of errors in the

  channel by distributing the errored symbols to multiple error correction codewords.


  VI.    LEVEL OF ORDINARY SKILL IN THE ART

         37.     I have been asked to offer my opinion regarding the level of ordinary skill in the art



                                                   9
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 13 of 50 PageID #: 4898




  with respect to each of the Asserted Patents.

          38.     In my opinion, with regard to the Family 3 Patents, a person of ordinary skill in the

  art (“POSITA”) would have had at least a Bachelor’s degree in electrical engineering, or a related

  field, and at least 6–7 years of experience in telecommunications or a related field; a master’s

  degree in electrical or computer engineering, or the equivalent, and at least 4–5 years of experience

  in telecommunications or a related field; or a Ph.D. in electrical or computer engineering, or the

  equivalent, with at least 1–2 years of experience in telecommunications or a related field. As of

  the time of the invention of the various patents, I qualify as a person of ordinary skill in the art.

          39.     With regard to the Certain Family 9 Patents, a POSITA would have had a bachelor’s

  degree in electrical or computer engineering (or a similar field) and 3-5 years of experience in

  communications systems. A higher degree (such as a master’s or doctoral degree) in electrical or

  computer engineering could substitute for work experience; for example, a person with a master’s

  degree in electrical engineering with 1-2 years of experience in communications systems would

  also qualify as a POSITA. As of the time of the invention of the various patents, I qualify as a

  person of ordinary skill in the art.


  VII.    DISPUTED CLAIM TERMS

          40.     I have been asked to provide opinions as to the terms and issues identified below

  and the claims associated with those terms.

          A.      Family 3 Patents

                  1.      “shared memory” / “sharing the memory” / “operable to be shared” /
                          “sharing”

          Claim(s)                      Plaintiff’s Position                Defendants’ Position
  ’882 Patent, Claims 9, 13     “common memory used by at least          Plain and ordinary meaning
                                two functions, where a portion of
  ’048 Patent, Claims 1, 5      the memory can be used by either
                                one of the functions”


                                                    10
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 14 of 50 PageID #: 4899




  ’5473 Patent, Claims 10

  ’510 Patent, Claims 21, 22

  ’608 Patent, Claim 2



         41.     I understand that the parties dispute the construction of “shared memory” / “sharing

  the memory” / “operable to be shared” / “sharing” (collectively, the “shared memory” limitation),

  which appears in the above-listed claims of the ’882 Patent, the ’048 Patent, the ’5473 Patent, the

  ’510 Patent, and the ’608 Patent. I understand that the Plaintiff contends that this term be construed

  to mean “common memory used by at least two functions, where a portion of the memory can be

  used by either one of the functions.” I understand that the Defendants contend that these terms

  should be afforded their plain and ordinary meaning. Having considered the parties’ positions, I

  agree with Defendants’ interpretation.

         42.     It is my opinion that the shared memory limitation should not be narrowed to mean

  “common memory used by at least two functions, where a portion of the memory can be used by

  either one of the functions” as proposed by the Plaintiff. As an initial matter, persons of ordinary

  skill in the art at the time of the invention would have known, without the benefit of a construction,

  what a “shared memory” is. The construction as proposed by Plaintiff injects unnecessary

  confusion into a term that was well known in the art. Indeed, shared memory is a well-known

  concept known well before the priority date of the Family 3 Patents. For example, during

  prosecution of each of the Family 3 Patents, the Examiner considered and addressed U.S. Patent

  No. 6,707,822 to Fadavi-Ardekani, et al., which was filed on January 7, 2000 and issued as a U.S.

  Patent on March 16, 2004. As to the ’882 Patent, the Examiner allowed the claims of the ’882

  Patent over Fadavi-Ardekani but explained that Fadavi-Ardekani “discloses sharing a memory




                                                   11
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 15 of 50 PageID #: 4900




  between the interleavers and deinterleavers.” ’882 File History, Notice of Allowance dated

  October 6, 2010. It thus makes little sense to define a term that was well known by persons of

  ordinary skill in the art.

          43.     Additionally, Plaintiff’s construction appears to narrow the term “shared memory”

  to exclude certain embodiments that a POSITA would have recognized to be a shared memory.

  With random access memories (RAMs), for example, the location where bytes or words of

  memory are written or read is provided to an address register, and functions are often allocated

  memory space by assigning to the function a range of addresses. In these circumstances, it might

  be that multiple functions share the RAM but input addresses into the register and are assigned so

  that the functions use the memory space without ever using the same portion of memory even

  though the functionality of the RAM makes it possible and easy for multiple functions to use the

  same portion of memory. In cases like this, it would be unclear whether, under Plaintiff’s

  construction that requires that “a portion of the memory can be used by either one of the functions,”

  such a memory would meet those requirements.

          44.     As another example, in digital signal processing chips (DSPs), numerous functions

  access a single memory resource. Those numerous functions share the same memory regardless of

  whether memory locations are used to support multiple functions or not. A POSITA would have

  known that these functions share the common memory of the DSP even though the POSITA may

  not have immediately known whether the DSP was programmed so that multiple functions actually

  access the same location in the common memory. Here again, it is unclear whether “a portion of

  the memory can be used by either one of the functions,” even though a POSITA would have

  recognized that the memory is shared.

          45.     With both of these examples, multiple functions share a memory whether or not a




                                                   12
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 16 of 50 PageID #: 4901




  portion of memory is used by more than one function. Whether to use the same location of memory

  for multiple functions is a choice that a person of ordinary skill in the art makes about how to use

  a shared memory rather than a defining characteristic of a shared memory. The plaintiff’s

  construction leads to unnecessary confusion as to whether a portion of the memory can be used by

  either one of the functions. For example, when two functions share the same RAM, but the

  application only requires a one-time allocation of memory to each of the two functions, the fact

  that the shared memory is only allocated once does not change the fact that it is shared. As

  Plaintiff’s proposed construction merely causes confusion where none previously existed, shared

  memory should be construed as its plain and ordinary meaning.

                 2.      “wherein the generated message indicates how the memory has been
                         allocated between the [first deinterleaving / interleaving] function and
                         the [second] deinterleaving function” / “a message indicating how the
                         shared memory is to be used by the interleaver or the deinterleaver”

         Claim(s)          Plaintiff’s Position                      Defendants’ Position
       ’5473 Patent, Plain and ordinary meaning.           Plain and ordinary meaning, which is
       Claims 10, 28                                       that the message indicates the amount of
                                                           memory [that has been allocated to / is
                                                           to be used by] the [first deinterleaving /
                                                           interleaving] function and the amount of
                                                           memory [that has been allocated to / is
                                                           to be used by] the [second]
                                                           deinterleaving function


         46.     I understand that the parties dispute the construction of “wherein the generated

  message indicates how the memory has been allocated between the [first deinterleaving /

  interleaving] function and the [second] deinterleaving function” and “a message indicating how

  the shared memory is to be used by the interleaver or the deinterleaver,” which is in the above-

  listed claims of the ’5473 Patent. I understand that the Plaintiff contends that this term should be

  afforded its plain and ordinary meaning, while Defendants contend that this term should be




                                                  13
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 17 of 50 PageID #: 4902




  afforded its plain and ordinary meaning as well, which is that the message indicates the amount of

  memory [that has been allocated to / is to be used by] the [first deinterleaving / interleaving]

  function and the amount of memory [that has been allocated to / is to be used by] the [second]

  deinterleaving function.” Having considered the parties’ positions, I agree with Defendants’

  interpretation and agree that their expression of the plain and ordinary meaning is correct.

         47.     It is my opinion that the limitations “wherein the generated message indicates how

  the memory has been allocated between the [first deinterleaving / interleaving] function and the

  [second] deinterleaving function” and “a message indicating how the shared memory is to be used

  by the interleaver or the deinterleaver” should be afforded their plain and ordinary meaning. When

  read in light of the specification and file history, the plain and ordinary meaning of those terms is

  “the message indicates the amount of memory [that has been allocated to / is to be used by] the

  [first deinterleaving / interleaving] function and the amount of memory [that has been allocated to

  / is to be used by] the [second] deinterleaving function.”

         48.     In my opinion, a person of ordinary skill in the art reading the limitation in the

  context of the claims would have read the term “indicates/indicating how” to mean indicating an

  amount of memory. For example, reading claim 10, it generally recites a transceiver with a shared

  memory, sharing that memory between an interleaver and deinterleaver, and, in a message,

  indicating how the shared memory is to be used. A person of ordinary skill in the art would have

  read “indicating how the shared memory is to be used” to mean indicating the amounts of memory

  that are to be used by the interleaver and deinterleaver. Likewise, reading claim 28, it recites that

  a portion of the memory may be allocated to the interleaver and the deinterleaver, and a message

  that indicates how the memory has been allocated between the interleaver and deinterleaver. A

  POSITA would have read “indicates how the memory has been allocated” to mean indicates the




                                                   14
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 18 of 50 PageID #: 4903




  amount of memory that has been allocated. Therefore, a person of ordinary skill in the art, reading

  the language in the context of the claims, would have understood that the plain and ordinary

  meaning of indicating how the shared memory is to be used would be indicating an amount of

  memory to be used.

         49.     Reading the specification, I do not believe there is any other logical conclusion. A

  person of ordinary skill in the art would read the specification and would find no examples of how

  memory is used beyond an indication of the amount of memory that is used. For example, the

  specification provides three examples of the contemplated invention. In the first example, the

  memory is referenced in relation to allocating “16 Kbytes of interleaver memory,” allocating “4

  Kbytes of interleaver memory” and sharing a “memory space containing at least (16–4)=20

  Kbytes.” ’882 Patent at 6:24–67. In the second example, the memory is referenced in relation to

  “4 Kbytes of interleaver memory” and a “memory space containing at least 3*4=12 Kbytes.” Id.

  at 7:10–28. In the third example, the memory is referenced in relation to “10 Kbytes of interleaver

  memory” resulting in “20K of shared memory.” Id. at 7:29–49.

         B.      Certain Family 9 Patents

                 1.     “wherein the transceiver is operable to receive at least one
                        retransmitted packet using interleaving”

         Claim(s)        Plaintiff’s Position                      Defendants’ Position
       ’577 Patent, No construction needed.               Indefinite
       Claims 17, 31

                 2.     “wherein the instructions further cause the transceiver to retransmit
                        the packet using forward error correction decoding and
                        deinterleaving.”

         Claim(s)           Plaintiff’s Position                   Defendants’ Position
       ’809 Patent,    No construction needed.            Indefinite
       Claim 24




                                                   15
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 19 of 50 PageID #: 4904




                 3.      “receive at least one message without using interleaving”

          Claim(s)        Plaintiff’s Position                       Defendants’ Position
        ’577 Patent, No construction needed.                Indefinite
        Claims 37, 53


         50.     I understand that the parties dispute the construction of the above-identified phrases

  in the above listed claims of the ’577 and ’809 Patents. I understand that the Plaintiff contends that

  each of the phrases requires no construction. Having considered the parties’ positions, I agree with

  Defendants’ interpretation that each of the phrases is indefinite. As I explain below, it is my

  opinion that a POSITA would not have understood what is meant by this term.

         51.     As discussed above in the background, there are a variety of techniques that

  transceivers use to improve the reliability of data transmission, including error correction, error

  detection, retransmission, and interleaving/deinterleaving. For each of these techniques, there is a

  function or operation performed by the transmitter portion of the transceiver at one end of the

  connection and a corresponding but distinct function or operation performed by the receiver

  portion of the transceiver at the other end of the connection. The table below presents examples of

  the transmitter and receiver functions for examples of a variety of techniques.

   Technique                     Transmitter operation           Receiver operation

   Error correction              Encoder converts an input       Decoder finds the sequence of
   Example: Reed-Solomon         sequence of symbols into a      input symbols that is the best
   Coding                        longer sequence of coded        guess based on the (possibly
                                 symbols according to an         corrupted) received sequence of
                                 error correction encoding       coded symbols and the encoding
                                 rule.                           rule.

   Error Detection               Encoder converts a              Decoder determines whether the
   Example: Cyclic               sequence of input symbols       (possibly corrupted) received
   Redundancy Check              into a longer sequence of       sequence obeys the rule. If so, it
   Coding                        symbols according to an         validates the corresponding
                                 error detection encoding        sequence of information data
                                 rule.                           symbols. If not, it declares an



                                                   16
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 20 of 50 PageID #: 4905




                                                                 error.

   Retransmission based on       Retransmission at the           Feedback from the receiver
   feedback                      transmitter retains the         informs the transmitter whether or
                                 transmitted sequence to         not the information data symbols
                                 await feedback from the         have been received successfully.
                                 receiver. If the feedback       This is usually accomplished with
                                 indicates unsuccessful          error detection.
                                 reception, transmit the
                                 sequence again.

   interleaving/deinterleaving Interleaving rearranges the       Deinterleaving returns the symbols
                               order of the symbols to           to their original pre-interleaving
                               spread out the symbols of         order so that they can be properly
                               each codeword.                    understood by the error correction
                                                                 and/or error detection decoders


         52.      With each of these techniques described above, it is well known that the operations

  performed at the transmitter portion of the transceiver at one end of the connection are distinct

  from the corresponding operations performed at the receiver portion of the transceiver at the other

  end of the connection. Encoding for error correction and/or error detection is performed only at

  the transmitter portion of the transceiver at the transmitting end of the connection and not at the

  receiver portion of the transceiver at the receiving end of the connection. Retaining and

  retransmitting is performed only at the transmitter and not in the receiver portion of the transceiver

  at the receiving end of the connection. Interleaving is performed only at the transmitter portion of

  the transceiver at the transmitting end of the connection and not in the receiver portion of the

  transceiver at the receiving end of the connection. Therefore, a person of ordinary skill in the art

  would find a claim element that instructs the receiver to receive a packet using interleaving, which

  is an operation performed only at the transmitter portion of the transceiver, to be meaningless and

  hence indefinite. Vice versa, a POSITA would likewise find a claim element that instructs the

  transmitter to transmit or retransmit a packet using forward error correction decoding and




                                                   17
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 21 of 50 PageID #: 4906




  deinterleaving, which are operations performed only at the receiver portion of the transceiver, to

  be meaningless and hence indefinite.

         53.     The specifications of the ’577 and ’809 Patents support my opinion. Specifically,

  each of the ’577 and ’809 Patents recites:

         Moreover, while some of the exemplary embodiments described herein are directed
         toward a transmitter portion of a transceiver performing interleaving and/or
         coding on transmitted information, it should be appreciated that a
         corresponding deinterleaving and/or decoding is performed by a receiving
         portion of a transceiver. Thus, while perhaps not specifically illustrated in every
         example, this disclosure is intended to include this corresponding functionality in
         both the same transceiver and/or another transceiver.

  ’577 Patent, 9:38–46; ’809 Patent, 9:66–10:07.

         54.     The above-quoted text of the ’577 and ’809 Patents’ specifications acknowledges

  that, with interleaving/deinterleaving, the interleaving function is performed at the transmitter

  portion of the transceiver at the transmitting end of the connection and the corresponding but

  distinct deinterleaving function is performed at the receiver portion of the transceiver at the

  receiving end of the connection. See id.

         55.     Consequently, and in view of the remarks above, a POSITA would have had no

  reasonable way to ascertain a meaning of the disputed claim terms set forth in claims 17 and 31 of

  the ’577 Patent and claim 24 of the ’809 Patent. Specifically, claims 17 and 31 of the ’577 Patent

  require that a receiver receive a packet using interleaving, which is an operation performed only

  at the transmitter portion of the transceiver. Likewise, claim 24 of the ’809 Patent requires that a

  transmitter retransmit a packet using deinterleaving, which is an operation performed only at the

  receiver portion of the transceiver. For at least these reasons, it is my opinion that a POSITA would

  not know or understand what is meant by each of these phrases.

         56.     For the same reasons explained above, it is my opinion that claims 37 and 53 of the

  ’577 Patent are indefinite. Much as a POSITA would have been unable to ascertain the meaning


                                                   18
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 22 of 50 PageID #: 4907




  of receiving a packet using interleaving because interleaving is a function performed at the

  transmitter portion of the transmitter, the POSITA would likewise have been unable to ascertain

  the meaning of receiving a message without using interleaving, as the implication is that the

  function of interleaving could be used. Because the claim language is directed to the function of

  interleaving at a receiver portion, and because interleaving is a function used only at the transmitter

  portion of the transmitter, the claim language is unclear. As a result, I agree with Defendants’

  position that each of the claim terms is indefinite.

                   4.     “higher immunity to noise”

         Claim(s)         Plaintiff’s Position                       Defendants’ Position
       ’348 Patent, “higher SNR margin”                     plain and ordinary meaning
       Claims 2 and
       9

       ’809 Patent,
       Claims 1, 9,
       16, 23

         57.       I understand that the parties dispute the construction of the phrase “higher immunity

  to noise,” which is in the above-referenced claims of the above-referenced patents. I also

  understand that the Plaintiff contends that the construction of this phrase is “higher SNR margin.”

  Having considered the parties’ positions, I agree with Defendants’ interpretation. As I explain

  below, it is my opinion that a POSITA would have readily understood the term “higher immunity

  to noise” and would not have understood the term to be limited to only a “higher SNR margin.”

         58.       The disputed term I address in this section is directed to messages communicated

  as positive or negative acknowledgments of a received packet. See, e.g., ’809 Patent,14:60–16:67.

  A POSITA attempting to discern a definition of the disputed term would have looked to the

  specification.

         59.       The ’809 Patent’s specification states explicitly, with regard to communication of



                                                    19
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 23 of 50 PageID #: 4908




  the positive and negative acknowledgement messages, that “it is important to make sure that these

  messages are as robust as possible and consume the least amount of data rate” because the channel

  used for their communication “has a limited data rate and is not necessarily error-free.” Id. at

  15:58–61 (emphasis added) (indicating that the positive and negative acknowledgments “can be

  transmitted over the same physical channel i.e., phone line, in the opposite direction as the received

  packets” and that “the channel has a limited data rate and is not necessarily error-free.”).

         60.       To that end, the ’809 Patent’s specification provides “several ways these

  requirements can be addressed.” Id. at 15:65. These “several ways” include “repeating

  transmission of each message a number of times,” sending at least one repeated message in one or

  more discrete multi-tone (“DMT”) symbols, sending a single message for multiple packets “using

  multiple packet count values,” increasing a margin of signal-to-noise ratio of the DMT sub-carriers

  used for modulating the messages above a 6 decibels (“dB”), or any combination thereof. See id.

  at 15:55–16:67.

         61.       A POSITA reading the ’809 Patent’s specification, and in particular the above-cited

  portions, would have understood that each of the “ways” listed by the patent’s inventive entity can

  be used alone or in combination with at least one of the other “ways.” See id. at 15:65. Accordingly,

  a POSITA would have concluded that a message having a “higher immunity to noise” than another

  data unit can be achieved using one or more of “several ways” identified in the ’809 Patent. In

  other words, the definition of this claim term is not limited to a single example disclosed in the

  specification.

         62.       I note that the ’809 Patent’s specification states the following:

         Alternatively, or in addition, the DMT sub-carriers that modulate these messages
         could operate with a much higher SNR margin e.g., 15 dB, as compared to the
         normal 6 dB margin of xDSL systems. This way, the messages would have a higher
         immunity to channel noise.



                                                     20
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 24 of 50 PageID #: 4909




  ’809 Patent, 16:04–08.

         63.     Even in view of the above-cited portion of the ’809 Patent’s specification, a

  POSITA would have known that each of the “several ways” listed by the patent’s inventive entity,

  whether used alone or in combination with at least one of the other “ways,” can result in “messages

  [that] would have a higher immunity to channel noise.” See id. cols. 15:55–16:67. Reading the

  specification, it is clear to me that operating with a much higher SNR margin is merely one

  contemplated “way” of achieving a higher immunity to channel noise, and that there exists “several

  ways” of achieving the same goal. See, e.g., id. at 15:55–65.

         64.     Consequently, it is my opinion that a POSITA would have concluded that the

  specification describes the term “higher immunity to noise” in an understandable manner that is

  not limited to “higher SNR margin,” as proposed by the Plaintiff. Accordingly, and based on my

  analysis above, it is my opinion that Defendants’ construction is correct.




                                                  21
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 25 of 50 PageID #: 4910
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 26 of 50 PageID #: 4911




                                    Exhibit A
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 27 of 50 PageID #: 4912




                               List of Materials Considered
        U.S. Patent No. 7,844,882
        U.S. Patent No. 8,276,048
        U.S. Patent No. 8,495,473
        U.S. Patent No. 9,547,608
        U.S. Patent No. 10,409,510
        U.S. Patent No. 8,595,577
        U.S. Patent No. 9,904,348
        U.S. Patent No. 10,833,809
        File History of U.S. Patent No. 7,844,882
        File History of U.S. Patent No. 8,276,048
        File History of U.S. Patent No. 8,495,473
        File History of U.S. Patent No. 9,547,608
        File History of U.S. Patent No. 10,409,510
        File History of U.S. Patent No. 8,595,577
        File History of U.S. Patent No. 9,904,348
        File History of U.S. Patent No. 10,833,809
        ITU-T G.993.2 VDSL2 Standard
        ITU-T G.993.1 VDSL1 Standard
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 28 of 50 PageID #: 4913




                                    Exhibit B
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 29 of 50 PageID #: 4914




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  EDUCATION

  1991 – 1996, Stanford University, Stanford, CA
  Ph.D. in Electrical Engineering
  Trellis Code Design for Correlated Fading and Achievable Rates for Tomlinson-Harashima Precoding.

  1984 – 1989, Massachusetts Institute of Technology, Cambridge, MA
  S. M. and S. B. in Electrical Engineering
  Thesis: Adaptive Equalization for Modem Constellation Identification.


  EMPLOYMENT
  1996 – present, University of California, Los Angeles, Los Angeles, CA
         Associate Dean of Academic and Student Affairs for the Henry Samueli School of
          Engineering and Applied Science since July 2007
         Acting Director HSSEAS MS Online Program, July 2007 – July 2008 (inaugural year
          of operation admitting students and offering classes)
         Professor of Electrical and Computer Engineering since July 2006
         Associate Professor of Electrical Engineering 2002-2006
         Assistant Professor of Electrical Engineering 1996-2001

  1991 – 1996, Stanford University, Stanford, CA, Research Assistant and Teaching Assistant.

  1986 – 1994, AT&T Bell Laboratories, Holmdel, NJ
         Member of Technical Staff summer 1994
         Member of Technical Staff 1989-1991
         Intern 1986-1989, two summer internships and a culminating 6-month internship.



                                                                                                      1
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 30 of 50 PageID #: 4915




  AWARDS

        Fellow of the Institute of Electrical and Electronics Engineers (IEEE)
        Qualcomm Faculty Award
        Selected for the National Academy of Engineering Frontiers of Engineering Program
        TRW Excellence in Teaching Award (UCLA School of Engineering)
        Okawa Foundation Award for Excellence in Telecommunications Research
        National Science Foundation CAREER Award
        AT&T Foundation Ph.D. Fellow.
        Tau Beta Pi MIT chapter president 1987-1988, Eta Kappa Nu, Sigma Xi, National
         Merit Scholar.

  ACADEMIC SERVICE


            Associate Dean, Leading Office of Academic and Student Affairs, including
             admissions and counseling for all engineering majors, July 2007 to present
            Chair, Samueli COVID-19 Task Force 2020-2021
            Member, UCLA COVID-19 Academic Continuity Task Force 2020-2021
            Member, HSSEAS SEASnet review committee, November 2018 to 2020
            Chair, Summer Sessions Faculty Advisory Committee, Sept. 2018 to present.
            Member, Advisory Committee on Immigration Policy, 2017 to 2021
            HSSEAS Strategic Planning Committee for Education, Jan. 2017-June 2018
            Member, Center for the Integration of Research, Teaching, and Learning
             at UCLA, Steering Committee, January 2017-present
            Member, Classroom Advisory Committee, November 2016 to present
            Chair, UCLA Special Programs Task Force, Feb. 2013- Sept. 2014
            Member, UCLA Enrollment Planning Committee October 2011-present
            Member, UCLA Undergraduate Non-Resident Implementation Task
             Force August 2010 – July 2011
            Member of UCLA Undergraduate Council July 2006- July 2008.
            Member of the Committee on Undergraduate Admissions and Relations
             with Schools July 2006- July 2008
            Electrical Engineering Department Vice Chair for Undergraduate Affairs
             July 2005 – July 2007. Successfully managed the 2006 ABET Accreditation visit
             for EE.
            Member of the School of Engineering Faculty Executive Committee 2003-
             2006.

                                                                                         2
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 31 of 50 PageID #: 4916




           Chair of the Electrical Engineering Department Courses and Curriculum
            Committee 2003-2005.
           Chair of the Communications Major Field in the Electrical Engineering
            Department at the University of California, Los Angeles, 1999-2004.
           Chair of the Cubicle Allocation Committee for the Electrical Engineering
            Department at UCLA, managing the allocation of 150 student cubicles among
            approximately 20 professors who share this space, 1998-2005.
           Chair of 2002 Annual Research Review (annual departmental research
            symposium). Also Vice Chair of 2001 Annual Research Review.
           Member of 2001 UCLA EE Annual Report Committee.
           Elected Member of the Legislative Assembly of the UCLA Academic Senate,
            1997-2001.
           Chair for quarterly Seminar Series in Signals and Systems. Established this
            seminar series in spring 1997. Recruit a professor each quarter to organize
            speakers for the series. Personally organized speakers for four of these quarters.
           Local Exhibits Chair, 1997 UCLA EE Research Symposium

  GRADUATED PH.D. STUDENTS

        1. Christina Fragouli, Ph.D. Sept. 2000, Dissertation: Turbo Code Design for High Spectral
           Efficiency, 2000-2001 UCLA EE Dept. Best Ph.D. Student 2001. Professor at UCLA.
        2. Christos Komninakis, Ph.D. Dec. 2000, Dissertation: Joint Channel Estimation and Decoding
           for Wireless Channels, Senior Director of Technology, Qualcomm.
        3. Xueting Liu, Ph.D. Dec. 2000, Dissertation: Trellis Code Design for Periodic Erasures and
           Adaptive Coded, Modulation Schemes for Time-Varying Channels, Apple Inc., CA
        4. Wei Shi, Ph.D. Dec. 2000, Dissertation: New Results in Wireless Communications, Qualcomm
        5. Tom Sun, Ph.D. Dec. 2002, Dissertation: Error Protection Techniques for Source and Channel
           Coding, Qualcomm, San Diego, CA
        6. Chris Jones, Ph.D. Dec. 2003, Dissertation: Constructions, applications, and implementations of
           low-density parity-check codes, Co-founder Chilicon Power, Los Angeles, CA
        7. Adina Matache, Ph. D. June 2004, Dissertation: Coding Techniques for High Data Rates in
           Wireless Multiple-Input Multiple-Output Communications, Aerospace Corp.
        8. Cenk Kose,Ph.D. Dec. 2004, Dissertation: Universal trellis codes and concatenated trellis-coded
           modulations for the compound linear vector Gaussian channel
        9. Aditya Ramamoorthy, June 2005, Generalized ACE Codes and Theoretic Results in Network
           Coding, Associate Professor at Iowa State University
        10. Jun Shi, Ph.D. Sept. 2005, Dissertation: Universal Channel Codes and Trellis State-Diagram
            Reduction, Senior Principle Scientist at the Broadcom Corporation
        11. Wen-Yen Weng, Ph.D. March 2007, Dissertation: Universal Serially Concatenated Trellis
            Coded Modulations and Rate-Compatible High-Rate LDPC Codes


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Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 32 of 50 PageID #: 4917



        12. Esteban Valles (Primary Advisor John Villasenor), Ph.D. March 2007, Dissertation:
            Timing Recovery Using Soft Information Feedback and Efficiency of Array Codes, Aerospace
            Corporation.
        13. Andres Vila Casado, Ph.D. December 2007, Dissertation: Improving LDPC Decoders:
            Informed Dynamic Message-Passing Scheduling and Multiple-Rate Code Design
        14. Herwin Chan (Primary Advisor Ingrid Verbauwhede), Ph.D. December 2007,
            Dissertation: Accelerating Applications Through Cross-Layer Co-Design
        15. Miguel Griot, Ph.D. Sept. 2008, Dissertation: Nonlinear Codes for Multiple Access to Binary
            Channels and Higher-Order Modulations over the AWGN Channel, Qualcomm Corporation.
        16. Bike Xie, Ph.D. June 2010, Dissertation: Encoding for Degraded Broadcast Channels and
            Resource Allocation for content Distribution in Peer-To-Peer Networks, Senior Staff Engineer-
            Manager at Marvell Corp
        17. Thomas Courtade, Ph.D. June 2012, Dissertation: Two Problems in Multiterminal Information
            Theory, Assistant Professor at UC Berkeley.
        18. Jiadong Wang, Ph.D. June 2012, Dissertation: Absorbing Set Analysis of LDPC Codes and
            Read-Channel Quantization in Flash Memory, Senior Engineer at Qualcomm.
        19. Tsung-Yi Chen, Ph. D. September 2013, Dissertation: Achieving Low-Latency Communication
            with Feedback: from Information Theory to Practical System Design, SpiderCloud Wireless.
        20. Adam Williamson, Ph. D June 2014, Dissertation: Reliability-output Decoding and Low-latency
            Variable-Length Coding Schemes for Communication with Feedback, Northrop Grumman Corp.
        21. Kasra Vakilinia, Ph. D June 2014, Dissertation: Coding Schemes to Approach Capacity in Short
            Blocklength with Feedback and LDPC Coding for Flash Memory, Huawei Technologies.
        22. Haobo Wang, Ph. D Decembner, 2018, Dissertation: Optimizing Flash-Based Storage Systems,
            SK Hynix.
        23. Sudarsan V.S. Ranganathan, Ph. D December, 2018, Dissertation:, Advances in
            Protograph-Based LDPC Codes and a Rate Allocation Problem, Post Doctoral Scholar
            and Lecturer at the Massachusetts Institute of Technology.

  RESEARCH FUNDING SOURCES 1996 - PRESENT

            Mercury Systems
            Qualcomm
            Zeta Corporation
            Physical Optics Corporation
            SA Photonics
            Micron Semiconductor
            National Science Foundation
            Western Digital Corporation
            INPHI Corporation
            Rockwell Collins
            The Broadcom Foundation


                                                                                                            4
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 33 of 50 PageID #: 4918




            Boeing
            Texas Instruments
            Conexant
            ST Microelectronics
            Northrop Grumman
            Skyworks
            Xetron Corporation
            Pacific Bell
            Honeywell


  COURSES TAUGHT 1996 - PRESENT

            EE131A Probability
            EE132A Communications Systems
            EE231A Information Theory
            EE231E Channel Coding
            EE232A Stochastic Processes


  PROFESSIONAL ACTIVITIES


        Associate Editor, IEEE Transactions on Information Theory, March 2020-present
        Presenter of half-day tutorial on Incremental Redundancy at Globecom 2019,
         December 2019.
        Panel member for National Science Foundation Proposal Review Panels.
        Invited Speaker half-day tutorial on Incremental Redundancy at the 2018 European
         School of Information Theory, Bertinoro, Italy, May 2018
        Invited Speaker at IEEE UCSD ITA Workshop, annually 2006-present
        Reviewer for various IEEE conferences and journals. Regularly reviewing
         submissions to Trans. on Information Theory, Trans. on Communications, Journal on
         Selected Areas of Communications, Communications Letters, Globecom, and
         International Conference on Communications, 1994-present.
        Technical Program Committee Member, numerous times for Globecom, ICC, and
         ISIT.
        Organizer and lecturer for UCLA Extension course on Error Control Coding (2000-
         2006). Received an award for being among the top 10% of UCLA extension lecturers.
        Associate Editor, IEEE Transactions on Communications 1999-2005.

                                                                                         5
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 34 of 50 PageID #: 4919




         Technical Program Chair, Communication Theory Symposium at Globecom 2002.
         Organizer and Session Chair for Special Session on Concatenated codes and
          iterative decoding at the 2001 Asilomar Conf. on Signals, Systems, and Computers.
         Session Organizer and Chair for Communication Theory Symposium at the 2001
          International Conference on Communications.
         Organizer and Session Chair for Special Session on Communication over Time
          Varying Channels at the 1999 Asilomar Conf. on Signals, Systems, and Computers.
         Invited speaker 1998 and 2000 IEEE Communication Theory Workshops.
         Invited speaker Office of Naval Research, Naval Research Labs 1998 Turbo Codes
          Workshop.
         Invited speaker 1998 DARPA GloMo workshop on emerging technologies for hand-
          held wireless devices in military communication.
         Instructor for 1997 UCLA Extension course on wireless multimedia communications.
         Invited speaker at various universities and companies including Stanford, UC-
          Berkeley, UC-San Diego, Ohio State University, University of Arizona, Johns Hopkins
          University, Cornell, Telia Research, Lulea, Sweden, Lucent, Boeing, Xetron, Texas
          Instruments, Conexant, and Microsoft Research.


  JOURNAL PUBLICATIONS (see all publications at http://www.seas.ucla.edu/csl)

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Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 48 of 50 PageID #: 4933



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Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 49 of 50 PageID #: 4934




                                    Exhibit C
Case 2:21-cv-00310-JRG Document 135-26 Filed 05/06/22 Page 50 of 50 PageID #: 4935




 DEPOSITION TESTIMONY OF RICHARD WESEL DURING PREVIOUS FIVE
 YEARS

 Core Wireless Licensing S.A.R.L. v. LG Electronics, Inc. (2015, 2018) Case
 No. 6:14-cv-911-JRG-RSP (E.D. Tex.) Lead Case
 Case No. 6:14-cv-912-JRG-RSP (E.D. Tex.) Consolidated

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 Enterprises, LLC, Verizon Services Corp. (2016)
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 TRIAL TESTIMONY OF RICHARD WESEL DURING PREVIOUS FIVE YEARS

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 No. 6:14-cv-911-JRG-RSP (E.D. Tex.) Lead Case
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